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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                  VICINAGE OF TRENTON

 CHRISTINE CONFORTI, ARATI KREIBICH,              )
 MICO LUCIDE, JOSEPH MARCHICA, KEVIN
 MCMILLAN, ZINOVIA SPEZAKIS, and                  )   HON. FREDA L. WOLFSON, U.S.D.J.
 NEW JERSEY WORKING FAMILIES
 ALLIANCE, INC.,                                  )   Civil Action No. 20-08267 (FLW-TJB)

               Plaintiffs,                        )

                       v.                         )            Civil Action

 CHRISTINE GIORDANO HANLON, in her                )
 Official capacity as Monmouth County
 Clerk, SCOTT M. COLABELLA, in his official       )
 capacity as Ocean County Clerk, PAULA                    STATEMENT IN LIEU OF
 SOLLAMI COVELLO, in her official capacity        )       BRIEF PURSUANT TO L.CIV.R.
 as Mercer County Clerk, JOHN S. HOGAN, in                7.1(d)(4) IN SUPPORT OF
 his Official capacity as Bergen County Clerk,    )       MOTION TO INTERVENE
 EDWARD P. MCGETTIGAN, in his official
 capacity as Atlantic County Clerk, and E. JUNIOR )
  MALDONADO, in his official capacity as
 Hudson County Clerk,                             )

               Defendants.                        )


        This Statement is submitted by Gurbir S. Grewal, Attorney General of New Jersey
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 (Attorney General) in lieu of a brief pursuant to L.Civ.R. 7.1(d)(4) as no brief is necessary because

 the Attorney General relies upon the certification of counsel filed in support of the motion to

 intervene in this action.

                                       Respectfully submitted,

                                       GURBIR S. GREWAL
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 Dated: March 29, 2021




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